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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON           MDL No. 16-2738 (MAS) (RLS)
  TALCUM POWDER PRODUCTS
  MARKETING, SALES                   Motion Day: July 1, 2024
  PRACTICES, AND PRODUCTS
  LIABILITY LITIGATION


     THIS DOCUMENT RELATES TO ALL CASES

 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ STEERING
COMMITTEE’S MOTION TO QUASH OR FOR PROTECTIVE ORDER
  REGARDING SUBPOENAS DIRECTED AT BEASLEY ALLEN LAW
FIRM, SMITH LAW FIRM, AND ELLINGTON MANAGEMENT GROUP
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      Pursuant to Federal Rules of Civil Procedure 45(d) and 26(c), Plaintiffs, by

and through the Plaintiffs’ Steering Committee (“PSC”), submit this Memorandum

of Law in support of their Motion to Quash, or in the alternative, for Protective Order

regarding the subpoenas issued by defendants Johnson & Johnson (“J&J”) and LLT

Management LLC on non-parties the Beasley Allen Law Firm (ECF No. 32201), the

Smith Law Firm (ECF No. 32226), and Ellington Management Group (ECF No.

322215).

                                 BACKGROUND

      On May 20, 2024, defendants Johnson & Johnson and LLT Management LLC

issued a subpoena to non-party the Beasley Allen Law Firm (“Beasley Allen”) for

the production of (1) all documents, communications, or agreements related to the

existence and details of third-party litigation funding arrangements, (2) all

documents, communications, or agreements “concerning the authority to settle or

otherwise resolve the Litigation and/or claims that have or may be asserted therein,”

(3) all communications between Beasley Allen and any non-party related to the

proposed plan of reorganization announced by defendants on May 1, 2024, and the

solicitation of personal injury Plaintiffs regarding same, and (4) all communications

between Beasley Allen and any non-party related to settlement offers made by

defendants in connection with the talc litigation. Beasley Allen Subpoena, ECF No.

32201.



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      Three days later, defendants served a nearly identical subpoena on non-party

the Smith Law Firm (“Smith Law”), seeking the production of (1) all documents,

communications, or agreements related to the existence and details of third-party

litigation funding arrangements, (2) all documents, communications, or agreements

“concerning the authority to settle or otherwise resolve the Litigation and/or claims

that have or may be asserted therein,” (3) all communications between Smith Law

and any non-party related to the proposed plan of reorganization announced by

defendants on May 1, 2024, and the solicitation of personal injury Plaintiffs

regarding same, and (4) all communications between Smith Law and any non-party

related to settlement offers made by defendants in connection with the talc litigation.

Smith Law Subpoena, ECF No. 32226.

      Defendants subsequently served another subpoena on non-party Ellington

Management Group (“Ellington”), demanding the production of (1) all

communications and agreements between Ellington and any law firm related to the

litigation, (2) all communications, agreements, and documents reflecting any

funding provided to law firms in this litigation, including which law firms received

funding, when funding began, and the terms of funding, (3) all communications

between Ellington and any law firm concerning any of defendants’ proposed

resolutions from 2020 through the present, (4) all communications between

Ellington and any law firm related to the proposed plan of reorganization announced



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by defendants on May 1, 2024, and the solicitation of personal injury Plaintiffs

regarding same, (5) all communications between Ellington and Beasley Allen, (6)

all documents, communications, and agreements related to any funding Ellington

provided to Beasley Allen, (7) all communications between Ellington and Smith

Law, and (8) all documents, communications, and agreements related to any funding

Ellington provided to Smith Law. See Ellington Subpoena, ECF No. 32215.

      As explained below, these subpoenas exceed the permissible scope of

discovery by requesting irrelevant information that is disproportionate to the needs

of this case and requires the disclosure of privileged matters. The PSC respectfully

requests that this Court quash the subpoenas, or in the alternative, enter a protective

order enjoining Beasley Allen’s, Smith Law’s, and Ellington’s obligations to comply

with the subpoenas, recognizing them for what they are: defendants’ latest abusive

and improper use of discovery tools to burden, oppress, and harass plaintiffs’

counsel.

                                   ARGUMENT

      Federal Rule of Civil Procedure 26(b) permits parties to “obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense

and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). A non-party

subpoena authorized by Federal Rule of Civil Procedure 45 “must fall within the

scope of discovery permissible under Rule 26(b).” Gov’t Emps. Ins. Co. v. Trnovski,



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2018 WL 5281424, at *2 (D.N.J. Oct. 23, 2018) (citing OMS Invs., Inc. v. Lebanon

Seaboard Corp., 2008 WL 4952445 (D.N.J. Nov. 18, 2008)). If a non-party

subpoena exceeds the bounds of permissible discovery, the court may issue a

protective order, modify the subpoena, or quash the subpoena entirely. See Fed. R.

Civ. P. 26(c) (“The court may, for good cause, issue an order to protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense.”);

Fed. R. Civ. P. 45(d)(3)(A) (providing four circumstances in which quashing or

modifying a subpoena is required); Fed. R. Civ. P. 45(d)(3)(B) (setting forth two

instances in which quashing or modifying a subpoena is permitted).

      A party has standing to quash a non-party subpoena pursuant to Rule 45

“when it claims a privilege or privacy interest in the information sought.”

Schmulovich v. 1161 Rt. 9 LLC, 2007 WL 2362598, at *2 (D.N.J. Aug. 15, 2007)

(citing Thomas v. Marina Assocs., 202 F.R.D. 433, 434–435 (E.D. Pa. 2001)). Courts

must quash or modify a subpoena that requires “disclosure of privileged or other

protected matter, if no exception or waiver applies,” or “subjects a person to undue

burden.” Fed. R. Civ. P. 45(d)(3)(A).

      Alternatively, Rule 26 permits the Court, for good cause, to issue a protective

order to prevent “a party or person from annoyance, embarrassment, oppression, or

undue burden or expense.” Fed. R. Civ. P. 26(c). “‘Good cause’ is established when

it is specifically demonstrated that disclosure will cause a clearly defined and serious



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injury.” Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995); see

Costantino v. City of Atl. City, 2015 WL 12806490, at *3 (D.N.J. Nov. 4, 2015)

(good cause requirement satisfied where plaintiff demonstrated that third-party

subpoena sought irrelevant documents).

      A party “ha[s] standing to move under Rule 26(c) for a protective order

limiting, or altogether disallowing, the third-party discovery, on the basis that it

seeks information beyond the scope of Rule 26(b)(1).” Ramos v. Walmart, Inc., 2023

WL 2327208, at *3 n.3 (D.N.J. Mar. 2, 2023); see also Special Master Order No. 19,

Doc. No. 29138 (Feb. 29, 2024) (PSC has standing to seek protective order

regarding non-party subpoena on relevancy grounds); Staff4Jobs, LLC v. List

Logistics, LLC, 2020 WL 13580942, at *3 (D.N.J. Oct. 19, 2020) (“Even if the

moving party has no standing as traditionally considered under Rule 45, it may

nonetheless seek to prevent the discovery pursuant to Rule 26.”); Costantino, 2015

WL 12806490, at *3; Rudelli v. Eli Lilly & Co., 2020 WL 13694732, at *2 (D.N.J.

Nov. 13, 2020).

   A. The Subpoenas Exceed the Scope of Permissible Discovery

      The Beasley Allen, Smith Law, and Ellington subpoenas far exceed the scope

of permissible discovery. See Gross-Quatrone v. Mizdol, 2021 WL 9978409, at *2

(D.N.J. Mar. 1, 2021) (“First, the subpoenaing party must demonstrate that the

information sought is relevant to any party’s claim or defense and proportional to



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the needs of the case under Rule 26(b)(1).” (citation omitted)); Trnovski, 2018 WL

5281424, at *2; Ramos, 2023 WL 2327208, at *3 n.3.

         1. The discovery sought is irrelevant to the claims and defenses in this
            MDL.

      The subpoenas broadly request all communications between Beasley Allen

and any non-party, Smith Law and any non-party, and Ellington and any law firm

regarding defendants’ most recently proposed plan of reorganization and the

solicitation of claimants for the same. See Beasley Allen Subpoena, ECF No. 32201

at 15; Smith Law Subpoena, ECF No. 32226 at 15; Ellington Subpoena, ECF No.

32215 at 13. Defendants do not and cannot show that this information is relevant to

any claim or defense in this MDL. In fact, they concede this information is pertinent

to “the success of the plan”—a proposed plan of reorganization to be filed in a future

bankruptcy proceeding that defendants have yet to commence—and admittedly seek

to investigate their unfounded suspicions that Beasley Allen intends “to disseminate

a misinformation campaign” to “bias the vote” and “derail” the plan. Def.’s Letter

Br., ECF No. 32200 at 1, 5–6. Defendants do not even attempt to connect Smith Law

or Ellington to this conspiracy. Regardless, this information is simply irrelevant to

this MDL since it “will not be tried before any jury in these proceedings.” In re

Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs., and Prods. Liab.

Litig., 2024 WL 1914760, at *2 (April 5, 2024).




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      The subpoenas further command the production of documents, agreements,

and communications concerning Beasley Allen’s and Smith Law’s settlement

authority and communications with any non-party regarding prior settlement offers

from defendants, as well as all communications between Ellington and any law firm

related to defendants’ proposed resolutions from 2020 to the present. See Beasley

Allen Subpoena, ECF No. 32201 at 15; Smith Law Subpoena, ECF No. 32226 at 15;

Ellington Subpoena, ECF No. 32215 at 13. This information is also irrelevant to the

claims and defenses in this case, as it “has nothing to do with whether exposure to

J&J’s baby powder caused plaintiffs’ ovarian cancer which is the heart of the case.”

In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs., and Prods.

Liab. Litig., 2024 WL 1914760 at *2.

      Rather than articulating credible theories of relevance, defendants try to

justify this impermissible discovery by accusing plaintiffs’ counsel of committing

ethical violations. See Def.’s Letter Br., ECF No. 32200 at 3–5. Defendants base

these serious accusations on speculation and a contrived interpretation of statements

that were improperly solicited from a represented individual (“DD”) by defendants’

counsel, Jim Murdica. See Def.’s Letter Br., Exs. A, C, D, ECF Nos. 32200-2,

32200-4, 32200-5. Specifically, on May 14, 2024, Beasley Allen client DD sent an

email to Beasley Allen, J&J’s outside counsel, and LLT’s in-house counsel, copying

a reporter from Thomson Reuters. See id. That email asked for “the exact date



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[defendants] plan to issue paperwork for the 3rd bankruptcy.” Id. Despite Beasley

Allen attorney Elizabeth Achtemeier removing DD and the reporter from the email

chain and instructing Mr. Murdica to “please disregard [DD’s] attorney-client

communication,” Mr. Murdica “added back the original recipients,” including DD,

accused Beasley Allen of “seeking to enter into a surreptitious relationship to thwart

a bankruptcy resolution . . . by publishing misleading and deceptive advertising,”

and asked DD to “confirm that they are in a privileged attorney-client relationship

with Beasley Allen.” Id. DD responded, in part, that she previously inquired about

settlement, and her attorney advised, “Johnson & Johnson is not willing to settle

your case at this time” and “to date, J&J has been unwilling to settle.” Id.

      Based on this ambiguous statement, notably lacking any context or indication

as to when and under what circumstances the representation was made, defendants

ask the Court to infer that Beasley Allen furnished “false and misleading

information” to talc claimants concerning the proposed plan, intends to “further

flood talc ovarian cancer claimants with an anti-vote campaign,” failed to convey

prior resolution offers to its clients, and advocates “for positions directly contrary to

the interests of talc ovarian cancer claimants.” Def.’s Letter Br., ECF No. 32200 at

1. Such inferences are unreasonable and not supported by the email exchange.1


1
 The only ethical violation reflected by the series of emails was committed by
defendants’ counsel, not by Beasley Allen. See New Jersey Rule of Professional
Conduct 4.2 (providing that “a lawyer shall not communicate about the subject of

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Defendants’ conjecture does not suffice to bring its requests within the realm of

permissible discovery. See McVicker v. King, 266 F.R.D. 92, 97 (W.D. Pa. 2010)

(denying discovery of media communications based upon speculation).

      Similarly, third-party litigation financing is not relevant to this MDL. The

consensus among courts is that such information is irrelevant and therefore not

discoverable. In re Valsartan N-Nitrosodimethylamine (NDMA) Contamination

Prods. Liab. Litig., 405 F. Supp. 3d 612, 615 (D.N.J. 2019) (“The Court agrees with

the plethora of authority that holds that discovery directed to a plaintiff's litigation

funding is irrelevant.”) (citing cases). Courts only find discovery appropriate upon a

“sufficient showing” that “something untoward occurred” to render litigation

financing relevant. Id. at 615. This requires “some objective evidence” that the

requesting party’s “theories of relevance are more than just theories.” VHT, Inc. v.

Zillow Grp., Inc., Case No. C15-1096JLR, 2016 WL 7077235, at *1, 2 (W.D. Wash.

Sept. 8, 2016). “For example, discovery will be ordered where there is a sufficient



the representation with a person the lawyer knows, or by the exercise of reasonable
diligence should know, to be represented by another lawyer in the matter. . . .”);
ABA Model Rule of Professional Conduct 4.2 (also providing that “a lawyer shall
not communicate about the subject of the representation with a person the lawyer
knows to be represented by another lawyer in the matter. . . .”); ABA Model Rule of
Professional Conduct 4.2 cmt. 3 (clarifying that Rule 4.2 “applies even though the
represented person initiates or consents to the communication” and that “[a] lawyer
must immediately terminate communication with a person if, after commencing
communication, the lawyer learns that the person is one with whom communication
is not permitted by” Rule 4.2.).

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showing that a non-party is making ultimate litigation or settlement decisions, the

interests of plaintiffs or the class are sacrificed or not being protected, or conflicts of

interest exist.” In re Valsartan, 405 F. Supp. 3d at 615. “Mere speculation by the

party seeking this discovery will not suffice.” V5 Techs. v. Switch, Ltd., 334 F.R.D.

306, 312 (D. Nev. 2019).

      Defendants do not present “objective evidence” of something untoward.

Instead, they appear to argue that because Smith Law previously had a financing

arrangement with Fortress Investment Group LLC (“Fortress”), allegedly entered an

arrangement with Ellington Management Group (“Ellington”) thereafter, and such

arrangements were never disclosed by Smith Law, then the law firm must be

purposefully concealing the arrangements and acting under the control of the

financers in making litigation strategy and settlement decisions. Def.’s Letter Br.,

ECF No. 32200 at 4–5. This manufactured theory of relevance is purely speculative.

They present no evidence that Fortress, Ellington, or any other third-party funder is

controlling decisions in this MDL. Even more, defendants present no evidence that

Smith Law’s arrangements with Fortress and Ellington funded cases pending in this

MDL at all, and the declaration of David Meisels, the Managing Director and Head

of Litigation for Fortress, does not indicate so. See Def.’s Letter Br., Ex. A, ECF No.

32213 at 4–5. Notably, Smith Law has never appeared in this MDL.




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      Nor do defendants explain how the financial arrangement of one of Beasley

Allen’s several hundred co-counsel relationships has any bearing on Beasley Allen

or its representation in this MDL. See Beasley Allen Resp. Letter Br., Ex. 3, ECF

No. 32251-3 at 11 (Andy Birchfield, when asked about the number of Beasley

Allen’s co-counsel relationships, responding that “hundreds would be my best, you

know, estimate.”). That’s because they cannot. Andy Birchfield previously testified

that Beasley Allen has not used litigation funding for talc cases before this Court,

see Hr’g Tr. on Def.’s Mot. to Disqualify, ECF No. 32153 at 60–62, and while being

deposed during the LTL-2 bankruptcy proceeding, which defendants conveniently

left out of the exhibit accompanying their letter to this Court. See Beasley Allen

Resp. Letter Br., Ex. 3, ECF No. 32251-3 at 11–13 (Andy Birchfield stating: “there

was the allegation made that Beasley Allen is so heavily indebted that we could not

accept the proposal, and . . . that is categorically false. We have not. We have not

obtained litigation financing or funding for our talc claims.”). Further, David

Meisels’ declaration indicates that Fortress has never provided funding to Beasley

Allen. See Def.’s Letter Br., Ex. A, ECF No. 32213 at 4. Because defendants merely

raise “a parade of horribles that could or may arise from litigation funding

agreements” and present “no nonspeculative basis for their discovery request,” it

should be denied. In re Valsartan, 405 F. Supp. 3d at 615–16.

         2. The discovery sought is not proportional to the needs of this MDL.



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      Even if the requested information was marginally relevant, the requests still

exceed the permissible bounds of discovery because they are not “proportional to

the needs of the case.” Fed. R. Civ. P. 26(b)(1). The subpoena vaguely seeks all

documents, communications, and agreements related to litigation funding and

authority to settle claims or otherwise resolve the litigation, as well as all

communications between the subpoenaed parties, including their directors, officers,

employees, and agents, and any non-party regarding defendants’ most recent

bankruptcy proposal and prior settlement offers. These requests are facially

overbroad and flout the requirement that discovery be proportional to the needs of

the case. See Seven Z Enters., Inc. v. Giant Eagle, Inc., 2020 WL 7240365, at *3

(W.D. Pa. Mar. 6, 2020) (“The sheer scope of the subpoenas speaks to [the document

requests’] disproportionality.”). “While the scope of discovery is broad, it is not

unlimited . . . and should not serve as a fishing expedition.” Hashem v. Hunterdon

Cnty., 2017 WL 2215122, at *2 (D.N.J. May 18, 2017).

   B. The Subpoenas Require Disclosure of Privileged Matters

      Next, the subpoenas should be quashed because they seek disclosure of

privileged documents and communications, which plaintiffs have an interest in

protecting. See Fulton v. Foley, 2019 WL 6609298, at *1 (N.D. Ill. Dec. 5, 2019)

(finding standing to quash based on plaintiff’s “legitimate interest in” the disclosure

of attorney work product material). The PSC is tasked with representing the interests



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of all plaintiffs in the MDL, including plaintiffs represented by the Beasley Allen

firm. As such, the PSC has standing the protect the rights and interests of all clients

within the PSC, including certain subsets of clients such as those represented by

Beasley Allen.

          1. The communications requested implicate the attorney-client
             privilege, community of interest privilege, mediation privilege, and
             work product doctrine.

      The requests for all documents, communications, and agreements related to

counsel’s authority to settle claims or resolve the litigation plainly seek information

protected by the attorney-client privilege. See Hinsinger v. Conifer Ins. Co., 2024

WL 866529, at *7 (D.N.J. Feb. 29, 2024) (citation omitted) (“The attorney-client

privilege applies to communications by a client, made in confidence, for the purpose

of seeking legal advice from an attorney who is acting in his or her capacity as an

attorney.”); Hedden v. Kean Univ., 434 N.J. Super. 1, 82 A.3d 238, 245 (N.J. Super.

Ct. App. Div. 2013) (“[T]here is a presumption that a communication made in the

lawyer-client relationship has been made in professional confidence. . . . If the

purpose was to solicit legal advice, then the privilege applies.”); Times of Trenton

Pub. Corp. v. Pub. Util. Serv. Corp., 2005 WL 1038956, at *6 (D.N.J. May 3, 2005)

(holding that the attorney-client privilege and the work-product doctrine protected

communications between client and attorney concerning settlement offers.).




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      The requests for all communications with any non-party regarding

defendants’ bankruptcy proposal and prior settlement offers require disclosure of

protected attorney work product. See Fed. R. Civ. P. 26(b)(3) (“a party may not

discover documents and tangible things that are prepared in anticipation of litigation

or for trial by or for another party or its representative (including the other party’s

attorney, consultant, surety, indemnitor, insurer, or agent).”). This protection is not

necessarily waived by disclosure to a third party if that party is not an adversary. See

Cooper Health Sys. v. Virtua Health, Inc., 259 F.R.D. 208, 213 (D.N.J. 2009) (citing

Maldonado v. New Jersey ex. rel. Admin. Off. of Cts. Prob. Div., 225 F.R.D. 120,

131 (D.N.J. 2004)) (“The essential question with respect to waiver of work product

is whether the material has been kept away from adversaries.”); Westinghouse Elec.

Corp. v. Republic of Philippines, 951 F.2d 1414, 1428 (3d Cir. 1991) (“Because the

work-product doctrine serves . . . to protect an attorney’s work product from falling

into the hands of an adversary, a disclosure to a third party does not necessarily

waive the protection of the work-product doctrine.”). Accordingly, a host of

protected   material    falls   within   these    unrestricted   requests,    including

communications with experts, agents, consultants, other plaintiffs’ counsel, and

mediators, to name a few.

      Communications with other plaintiffs’ counsel are also shielded by the

community of interest privilege, see In re Teleglobe Commc’ns Corp., 493 F.3d 345,



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364 (3d Cir. 2007) (explaining that the community of interest privilege “allows

attorneys representing different clients with similar legal interests to share

information without having to disclose it to others.”), and communications with

mediators are also covered by the mediation privilege. See Napolitano v. Corbishley,

2021 WL 3486901, at *2 (D.N.J. Aug. 9, 2021) (citing Kernaham v. Home Warranty

Adm’r of Fla., Inc., 236 N.J. 301 (2019) (the mediation privilege covers “any

statement, whether verbal or nonverbal . . . made for purposes of considering,

conducting, participating in, initiating, continuing, or reconvening a mediation or

retaining a mediator.”).

         2. The litigation financing information requested is protected by the
            work product doctrine and intrudes upon the attorney-client
            privilege.

      Lastly, litigation financing documents and communications are shielded by

the work product doctrine. See, e.g., Lambeth Magnetic Structures LLC v. Seagate

Tech. (US) Holdings Inc., 2018 WL 466045, at *6 (W.D. Pa. Jan. 18, 2018) (denying

discovery of communications between plaintiff and litigation funders and funding

agreements in patent infringement actions as “shielded under work product

protection.”); Ioengine, LLC v. Interactive Media Corp., 1:14-cv-01571-GMS, slip

op. at 2 (D. Del. Aug. 3, 2016) (denying motion to compel production of documents

plaintiff disclosed to prospective litigation funders as protected work product);

Securitypoint Holdings, Inc. v. United States, 2019 WL 1751194, at *5 (Fed. Cl.



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Apr. 16, 2019) (“Litigation funding agreements are often considered by the federal

courts to be protected by the work product doctrine or as otherwise irrelevant to the

issues at hand.”); Viamedia, Inc. v. Comcast Corp., 2017 WL 2834535, at *1 (N.D.

Ill. June 30, 2017) (district court in patent infringement action denied defendant’s

request for documents plaintiff disclosed to prospective litigation financing firms as

“protected by the work-product doctrine.”).

      And because such information is neither relevant nor proportional to the needs

of the case, defendants cannot demonstrate the “substantial need” required to

overcome the work product doctrine. See, e.g., Preservation Techs. LLC v.

MindGeek USA, Inc., 2020 WL 10965161, at *6-7 (C.D. Cal. Dec. 18, 2020) (finding

litigation funding documents not discoverable because the work product doctrine

“shields those documents from discovery” and the defendant did not show a

substantial need to access the documents); U.S. v. Homeward Residential, Inc., 2016

WL 1031154, at *6 (E.D. Tex. Mar. 15, 2016) (denying disclosure of funding

agreements and plaintiff’s communications with funders as “protected by the work

product doctrine” and because defendants did not demonstrate a “substantial need”

for the information).

      Such information is further protected by “the common interest exception and

the agency exception” to waiver of the attorney-client privilege. In re Int’l Oil

Trading Co., LLC, 548 B.R. 825, 832, 836 (S.D. Fla. Bankr. 2016) (holding that all



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communications between the judgment creditor and funder were “protected by both

the common interest exception and the agency exception” to waiver of the attorney-

client privilege and work product protection, and there was no showing of

“substantial need”); Devon IT, Inc. v. IBM Corp., 2012 WL 4748160, at *1 n.1 (E.D.

Pa. Sept. 27, 2012) (quashing third-party subpoena directed at a litigation funder

because the documents were “protected from disclosure as work-product,” and

production “would intrude upon attorney-client privilege under the ‘common-

interest’ doctrine.”).

   C. The Subpoenas are Unduly Burdensome, Oppressive, and Harassing

      Finally, the subpoenas are unduly burdensome, oppressive, and harassing. A

subpoena is considered unduly burdensome when it “is unreasonable or oppressive.”

DIRECTV, Inc. v. Richards, 2005 WL 1514187, at *1 (D.N.J. June 27, 2005) (citing

Northrop Corp. v. McDonnell Douglas Corp., 751 F.2d 395, 403 (D.C. Cir. 1984)).

Courts consider “the following factors in evaluating the reasonableness of a

subpoena: (1) the party’s need for the production; (2) the nature and importance of

the litigation; (3) relevance; (4) the breadth of the request for the production; (5) the

time period covered by the request; (6) the particularity with which the documents

are described; and (7) the burden imposed on the subpoenaed entity.” Schmulovich,

2007 WL 2362598 at *4.




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      Defendants’ requests are overly broad and not described with particularity,

and because the discovery sought is neither relevant to this MDL nor proportional

to the needs of the case, defendants cannot show a need for the productions or that

the productions will advance the litigation. Ultimately, it is unreasonable for

plaintiffs’ counsel to exert time, effort, and expense in locating, reviewing, and

producing irrelevant, privileged documents, to the degree they even exist, instead of

prosecuting plaintiffs’ claims.

                                  CONCLUSION

      For the foregoing reasons, the Court should quash the subpoenas directed at

non-parties Beasley Allen Law Firm, Smith Law Firm, and Ellington Management

Group, or in the alternative, issue a protective order enjoining the recipients’

obligations to comply with the subpoenas. Not only do the subpoenas risk revealing

privileged and protected documents and communications, but also the discovery

sought is irrelevant and disproportionate to the needs of this case.

Dated: May 30, 2024                            Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 30, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                              Respectfully submitted,


                                              /s/ Michelle A. Parfitt
                                              Michelle A. Parfitt




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